     Case 2:06-cr-00380 Document 347 Filed on 03/02/09 in TXSD Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                         §
     Plaintiff/Respondent,                        §
                                                  §
v.                                                §           Cr. No. C-06-380 (6)
                                                  §           C.A. No. C-09-37
CATARINO GUTIERREZ, JR.,                          §
    Defendant/Movant.                             §

                        ORDER FOR RESPONDENT TO ANSWER
                      AND ORDER ALLOWING MOVANT TO REPLY

       On March 2, 2009, the Clerk received Movant Catarino Gutierrez, Jr.’s (“Gutierrez”) motion

to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255. It is now ORDERED that the

United States answer the § 2255 motion not later than sixty days after the entry of this Order.

       It is further ORDERED that the United States provide, at the time of its answer, transcripts

of all pertinent proceedings that are not already part of the record. Relevant affidavits, if any, are

also to be filed with the answer.

       Pursuant to Rule 5(d) of the RULES GOVERNING SECTION 2255 PROCEEDINGS FOR THE

UNITED STATES DISTRICT COURTS (2008), Gutierrez may file a reply not later than thirty days after

service of the government’s answer.


       ORDERED this 2nd day of March, 2009.




                                               ____________________________________
                                                          Janis Graham Jack
                                                      United States District Judge
